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                                                          U.S. Department of Justice

                                                          Matthew M. Graves
                                                          United States Attorney

                                                          District of Columbia


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                                                                June 22, 2022

 Counsel                                     Counsel For:
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 Assistant Federal Public Defender
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 Law Officer of Gregory S. Smith
 913 East Capitol Street, SE
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       Re: United States v. Taherzadeh, et al.,Crim. No. 22-cr-133 (CKK)
           Discovery Production No. 2

Dear Counsel:

       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the government has made
available to you via USAfx its first production of material in the government’s files related to the
above captioned matter. The production will be available on USAfx for 60 days, at which point it
will expire. Please download a copy for your files prior to the expiration. This production is
covered by the Protective Order entered by the Court on May 10, 2022 (D.E. 35).

       The production contains materials covering the Bates range US-0012242 to US-0035418.
This production includes, among other things, documents from the execution of the search
warrants, FBI interview reports and notes, government records, and transcripts of interviews.

       A log of documents deemed “Sensitive” pursuant to the protective order has also been
uploaded to USAfx.

        Through this production, the government has also provided, as a courtesy, material that is
not discoverable under Rule 16, the Jencks Act, or Brady, Giglio, and their progeny. The fact that
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certain non-discoverable materials are provided in no way obligates the government to provide all
non-discoverable materials, and the fact that certain non-discoverable materials are provided
should not be taken as a representation as to the existence or non-existence of any other non-
discoverable materials.

       The government hereby continues to request reciprocal discovery to the fullest extent
provided by Rule 16 of the Federal Rules of Criminal Procedure, including results or reports of
any physical or mental examinations, or scientific tests or experiments, and any expert witness
summaries. I also request that defendants disclose prior statements of any witnesses the defendants
intends to call to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles,
422 U.S. 255 (1975). I request that such material be provided on the same basis upon which the
government will provide defendants with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, and 12.2, I request
that defendants provide the government with the appropriate written notice if defendants plan to
use one of the defenses referenced in those rules. Please provide any notice within the time period
required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                       Sincerely,

                                                       MATTHEW M. GRAVES
                                                       UNITED STATES ATTORNEY

                                               By:            /s/ Joshua S. Rothstein
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